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                                                                Honorable Sharon Johnson Coleman


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                           ORDER OF THE EXECUTIVE COMMITTEE

     It appearing that the Hon. Sharon Johnson Coleman is presiding over 09 CR 383, USA v.
Guzman-Loera et al; and

       It further appearing that 18 CR 484, USA v. Zambada-Niebla, is related to 09 CR 383,
USA v. Guzman-Loera et al., pursuant to Local Rule 40.4; therefore

          It is hereby ordered that Judge Coleman shall be reassigned 18 CR 484, USA v. Zambada-
Niebla.




                                            ENTER:
                               FOR THE EXECUTIVE COMMITTEE:




                               _____________________________________
                                Hon. Rebecca R. Pallmeyer, Chief Judge


Dated at Chicago, Illinois this 24th day of June, 2020
